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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELMAGIN CAPITAL, LLC                      :      CIVIL ACTION
                                          :
      v.                                  :
                                          :
CHAO CHEN, KARL PETTY,                    :
ENTERGRID LLC, and                        :
ENTERGRID FUND I LLC                      :      No. 20-2576

                                     ORDER

I GRANT Plaintiff’s motion at D.I. 318. But I will rule on any breach-of-contract
issues when I decide Plaintiff’s motion for a new trial.




Dated: June 17, 2022                          ____________________________________
                                               UNITED STATES CIRCUIT JUDGE
